     Case 1:89-cr-01018-MW-GRJ          Document 1290        Filed 06/03/09      Page 1 of 1


                                                                                         Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                 CASE NO. 1:89-cr-01018-MP

CARL EUGENE GRIFFIN,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 1281, in which Mr. Griffin seeks to have the

Court reconsider the order at Doc. 1280, which denied his first motion to reconsider the order

denying Mr. Griffin a reduction in sentence based on the amendments to the guidelines dealing

with crack cocaine offenses.

       Nothing in the motion at Doc. 1281 supports departing from the Court's previous ruling.

Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion for reduction of sentence, Doc. 1281, is denied.

       DONE AND ORDERED this 3rd day of June, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
